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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE
                              CASE NO. 3:23-CR-65-1-DJH

UNITED STATES OF AMERICA                                                                PLAINTIFF


v


KELVIN ANDERSON                                                                       DEFENDANT



                DEFEDANT ANDERSON’S UNOPPOSED MOTION TO CONTINUE THE
                              CHANGE OF PLEA HEARING

                                               (Electronically filed)

        Comes the defendant, Kelvin Anderson, by counsel, and respectfully requests the Court

continue the change of plea hearing currently set for December 6, 2023 at 9:30am. Co-counsel

was recently added to this matter and requires some time to prepare for the hearing. Counsel for

the United States is expected to be in trial in this same court on a different matter on the current

date. Counsel would request a short continuance so that all counsel may be adequately prepared

for this hearing.

        WHEREFORE, it is respectfully requested that this Court enter the attached Order.

                                                      Respectfully submitted,

                                                      /s/ Kevin M. Glogower
                                                      Kevin M. Glogower
                                                      214 S. 8th Street, Ste 201
                                                      Louisville, Kentucky 40202
                                                      (502) 384-5656
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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 14, 2023, the foregoing was electronically filed with

the clerk of the court by using the CM/ECF system, which will send a notice of electronic filing

to all attorneys of record.



                                                    /s/ Kevin M. Glogower
                                                    KEVIN M. GLOGOWER
